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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   In re:                                         §          Case No. 23-11007-cgb
                                                  §
   ARTIUSID, INC.,                                §          Chapter 7
                                                  §
             Debtor.                              §

                          COLLABORATIVE VISION LLC’S
             WITNESS AND EXHIBIT LIST FOR SEPTEMBER 25, 2024 HEARING
                              (re: Dkt. Nos. 83, 88, 99)

  TO:       THE HONORABLE CHRISTOPHER G. BRADLEY,
            UNITED STATES BANKRUPTCY JUDGE

            Collaborative Vision LLC (“Collaborative Vision”), by and through its undersigned

  counsel, hereby files its witness and exhibit list (the “Witness and Exhibit List”) for the hearing

  scheduled for September 25, 2024, at 1:30 p.m. (the “Hearing”) to consider, among other things,

  the Order Abating Proceedings on Debtor’s Motion for Rehearing, Granting Stay of Order for

  Relief Pending Ruling on Consensual Dismissal of Involuntary Case, and Setting Procedures for

  Approval of Dismissal [Dkt. No. 83], Consent Stipulation and Motion for Dismissal of

  Involuntary Petition Under Chapter 7 [Dkt. No. 88], and Collaborative Vision LLC’s Objection

  to Consent Stipulation and Motion for Dismissal of Involuntary Petition Under Chapter 7 [Dkt.

  No. 99].

                                            WITNESSES

            Collaborative Vision designates the following individual(s) who may be called as a

  witness at the hearing (exclusive of those that may be used for impeachment purposes):

      1. Lisa Matar

      2. Michael Marcotte

      3. Any witness called or listed by any other party.



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      4. Any rebuttal witnesses as needed.


           Collaborative Vision reserves the right to call any witness designated by any other party

  and any witness necessary for impeachment or rebuttal.

                                                    EXHIBITS

           Collaborative Vision designates the following exhibits that may be offered into evidence

  and used at the Hearing (exclusive of those that may be used for impeachment or rebuttal

  purposes):


        EX. #                         DESCRIPTION OF EXHIBIT                    OFFERED   OBJECTION   ADMITTED


      CV-001       Client Service Agreement [Dkt. 99-1]

      CV-002       Addendum to the Client Service Agreement [Dkt. 99-2]

      CV-003       Unpaid Invoices Chart [Dkt. 99-3]

                   Note Purchase Agreement and Nonnegotiable Promissory Note
      CV-004
                   [Dkt. 99-4]

      CV-005       Email Correspondence [Dkt. 99-5]

      CV-006       Oregon Complaint [Dkt. 99-6]

      CV-007       Oregon Scheduling Order [Dkt. 99-7]

      CV-008       Count Three Settlement Officer [Dkt. 99-8]

      CV-009       Notice of Involuntary Bankruptcy Case [Dkt. 99-9]

      CV-010       Skypoint Claim Email

      CV-011       Articles of Conversion of Q5id, Inc.

      CV-012       Bradley J. Krupica Declaration

      CV-013       Peter D. Hawkes Declaration

                   Any exhibit designated by any other party.

                   Any pleading or other document filed with the Court on the
                   docket of the above-captioned chapter 11 case.



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        EX. #                        DESCRIPTION OF EXHIBIT                      OFFERED   OBJECTION   ADMITTED


                   Any exhibit necessary to rebut the evidence or testimony of
                   any witness offered or designated by any other party.



           Collaborative Vision asks that the Court take judicial notice of the pleadings and

  transcripts filed in the proceedings before this Court, including without limitation any and all

  orders, motions, proofs of claim, and other pleadings, and any exhibits thereto. Collaborative

  Vision reserves the right to use additional demonstrative exhibits as they deem appropriate in

  connection with the Hearing. Collaborative Vision reserves the right to use any exhibits

  presented by any other party. Collaborative Vision reserves the right to amend and/or supplement

  this witness and exhibit list. Collaborative Vision reserves the right to use exhibits not listed

  herein for impeachment purposes at the Hearing.

  Dated: September 20, 2024.                         Respectfully Submitted,

                                                     By: /s/ Lynn Hamilton Butler
                                                     Lynn Hamilton Butler (SBN 03527350)
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                                                     -and-

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                                                     Attorneys for Collaborative Vision LLC




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                                 CERTIFICATE OF SERVICE

          I do hereby certify that on September 20, 2024, the undersigned counsel served a true and
  correct copy of this Motion to Expedite through the Court’s CM/ECF system on all parties
  enlisted to receive service electronically, as set out on the list below.


                                                             /s/ Lynn Hamilton Butler
                                                             Lynn Hamilton Butler

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  United States Trustee - AU12
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